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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA



(1) DORINDA L. RIVERA,                §
                                      §
              Plaintiff,              §
                                      §
v.                                    §                CIVIL ACTION NO. ____________
                                      §
(1) SMITHFIELD FOODS, INC.;           §
(2) PRESTAGE-STOECKER FARMS,          §
    INC., d/b/a MURPHY FARMS, LLC.; §
(3) MURPHY FARMS, INC.;               §
(4) MURPHY FARMS OF TEXHOMA,          §
    INC.; and (5) MURPHY-BROWN, LLC., §
                                      §
              Defendants.             §

                              DEFENDANTS’ NOTICE OF REMOVAL

       Defendants Smithfield Foods, Inc., Murphy Farms, Inc., Murphy Farms of Texhoma,

Inc., and Murphy-Brown LLC, improperly identified as Murphy-Brown, LLC. and Defendant

Prestage-Stoecker Farms, Inc., improperly identified as Prestage-Stoecker Farms, Inc. d/b/a

Murphy Farms, LLC., (collectively “Defendants”),1 file this Notice of Removal of the case filed

by Plaintiff Dorinda L. Rivera (“Plaintiff”) in the District Court of Texas County, Oklahoma,

bearing cause number CJ-2005-75 (“State Court Action”).            In support thereof, Defendants

respectfully show the Court the following:

       1.      On August 31, 2005, Plaintiff filed the State Court Action alleging claims under

the Equal Pay Act, 29 U.S.C. § 201 et. seq., (“EPA”), and Title VII of the Civil Rights Act of

1964, 42 U.S.C. §§ 2000e et seq., (“Title VII”). Plaintiff’s Petition, attached as Exhibit 1, at ¶ 3.


       1
        Defendants Smithfield Foods, Inc., Prestage-Stoecker Farms, Inc., Murphy Farms, Inc.,
and Murphy Farms of Texhoma, Inc. are not proper Defendants because they were not Plaintiff’s
employer. Murphy Farms, Inc. no longer exists. Its successor is Murphy Farms, LLC, which did
not employ Plaintiff.

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Defendants Smithfield Foods, Inc., Murphy Farms of Texhoma, Inc., Murphy-Brown LLC, and

Prestage-Stoecker Farms, Inc. were each served with a copy of Plaintiff’s Petition on February 6,

2006. Summons and Petition Served on Defendant Smithfield Foods, Inc., attached as Exhibit 2;

Summons and Petition Served on Defendant Murphy Farms of Texhoma, Inc., attached as

Exhibit 3; Summons and Petition Served on Defendant Murphy-Brown LLC attached as Exhibit

4; Summons and Petition Served on Defendant Prestage-Stoecker Farms, Inc., attached as

Exhibit 5. Murphy Farms, Inc. has not been served.

       2.      This case is being removed within thirty (30) days of Defendants Smithfield

Foods, Inc., Murphy Farms of Texhoma, Inc., Murphy-Brown LLC, and Prestage-Stoecker

Farms, Inc. being served with Plaintiff’s Petition in accordance with 28 U.S.C. § 1446(b).

       3.      Removal of this action is proper because Plaintiff asserts claims over which this

Court has original jurisdiction under 28 U.S.C. § 1331, in that the disputes involve the EPA and

Title VII, both of which are federal statutes. 28 U.S.C. §§ 1331, 1441(b).

       4.      Because federal question jurisdiction exists under 28 U.S.C. § 1331, the State

Court Action may be removed to this Court in accordance with the provisions of 28 U.S.C. §§

1441 and 1446.

       5.      Pursuant to Rule 81.2 of the Local Rules for the United States District Court for

the Western District of Oklahoma and 28 U.S.C. § 1446(a), this Notice of Removal is

accompanied by a certified copy of the docket sheet in the State Court Action (Exhibit 6), a copy

of all documents filed in State Court Action (Exhibits7 and 8), and a copy of all documents

served in the State Court Action (Exhibits 1-5).

       6.      Venue is proper in this district under 28 U.S.C. § 1441(a) because this district

embraces the place where the removed action has been pending.




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       7.     Pursuant to 28 U.S.C. § 1446(d), Defendant will promptly file a copy of this

Notice of Removal with the clerk of the state court where the action has been pending.

                                            PRAYER

       WHEREFORE, Defendants pray that the above-referenced action pending against them

in the District Court of Texas County, State of Oklahoma, be removed to the United States

District Court for the Western District of Oklahoma.

                                            Respectfully submitted,

                                            McAFEE & TAFT, P.C.


                                            By: s/Sam R. Fulkerson
                                                   SAM R. FULKERSON
                                                   State Bar No. 14370

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                                            ATTORNEYS FOR DEFENDANTS
                                            SMITHFIELD FOODS, INC., MURPHY
                                            FARMS, INC., MURPHY FARMS OF
                                            TEXHOMA, INC., AND MURPHY-BROWN
                                            LLC




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                                           and


                                           MULINIX OGDEN HALL
                                           ANDREWS & LUDLAM, P.L.L.C.

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                                           ATTORNEYS FOR DEFENDANT
                                           PRESTAGE-STOECKER FARMS, INC.

                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing
Defendants’ Notice of Removal has been served upon counsel for Plaintiff, Bill Abney, Jr., 4801
Classen Blvd., Suite 251, Oklahoma City, Oklahoma, 73118, by certified mail, return receipt
requested, on this 23rd day of February, 2006.


                                           _/s/ Sam R. Fulkerson________________
                                           SAM R. FULKERSON




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